






NO. 07-02-0497-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL A



JULY 15, 2003



______________________________




CHAD GALE SNIDER, APPELLANT



V.



THE STATE OF TEXAS, APPELLEE




_________________________________



FROM THE 242ND DISTRICT COURT OF HALE COUNTY;



NO. B13816-0009; HONORABLE ED SELF, JUDGE



_______________________________



Before JOHNSON, C.J., and REAVIS, and CAMPBELL, JJ.

ABATEMENT AND REMAND


	Appellant Chad Gale Snider has given notice of appeal from a conviction and
sentence in Cause No. B13816-0009 in the 242nd District Court of Hale County, Texas
(the trial court).  The appellate court clerk received and filed the trial court clerk's record
on February 3, 2003.  By letter dated June 26, 2003, the appellate clerk advised counsel
for appellant that appellant's brief was past due, and that neither the brief nor a motion for
extension of time for filing of the brief had been received.  Counsel for appellant was
further advised by such letter that if no response to the letter was received on or before
July 7, 2003, the appeal would be abated to the trial court for hearing pursuant to Tex. R.
App. P. 38.8.  No response to the clerk's letter of June 26, 2003, has been received.

	Accordingly, this appeal is abated and the cause is remanded to the trial court.  Tex.
R. App. P. 38.8(b)(2).  Upon remand, the judge of the trial court is directed to immediately
cause notice to be given of and to conduct a hearing to determine: (1) whether appellant
desires to prosecute this appeal; (2) if appellant desires to prosecute this appeal, then
whether appellant's present counsel should be replaced; and (3) what orders, if any, should
be entered to assure the filing of appropriate notices and documentation to dismiss
appellant's appeal if appellant does not desire to prosecute this appeal, or, if appellant
desires to prosecute this appeal, to assure that the appeal will be diligently pursued.  If the
trial court determines that the present attorney for appellant should be replaced, the court
should cause the clerk of this court to be furnished the name, address, and State Bar of
Texas identification number of the newly-appointed or newly-retained attorney.  

	The trial court is directed to: (1) conduct any necessary hearings; (2) make and file
appropriate findings of fact, conclusions of law and recommendations, and cause them to
be included in a supplemental clerk's record; (3) cause the hearing proceedings to be
transcribed and included in a supplemental reporter's record; (4) have a record of the
proceedings made to the extent any of the proceedings are not included in the
supplemental clerk's record or the supplemental reporter's record; and (5) cause the
records of the proceedings to be sent to this court.  Tex. R. App. P. 38.8(b)(3).  In the
absence of a request for extension of time from the trial court, the supplemental clerk's
record, supplemental reporter's record, and any additional proceeding records, including
any orders, findings, conclusions and recommendations, are to be sent so as to be
received by the clerk of this court not later than August 18, 2003. 	

	

							Per Curiam

Do not publish.






